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                        THE UNITED STATES DISTRICT COURT
                       DISTRICT OF DELAWARE CIVIL DIVISION

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,
               Plaintiff,                          CIVIL ACTION NO. 1:19-cv-00703-RGA
       v.
                                                    JURY TRIAL DEMANDED
HONEYWELL INTERNATIONAL, INC.,

              Defendant.
            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


       Plaintiff Rothschild Broadcast Distribution Systems LLC hereby files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer.     Accordingly, Rothschild Broadcast Distribution Systems LLC hereby

voluntarily dismisses this action against Honeywell International, Inc., without prejudice,

pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.

DATED May 9, 2019                     Respectfully submitted,

                                      /s/
                                      STAMATIOS STAMOULIS (#4606)
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                                      ATTORNEYS FOR PLAINTIFF


SO ORDERED, this ___________ day of ________________, 2019.

                                             ____________________________________
                                             Judge - United States District Court
